         Case 4:22-cv-01983 Document 62 Filed on 11/16/22 in TXSD Page 1 of 14




                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

    Transatlantica Commodities Pte Ltd.,                      §              Civil Action No: H-22-cv-01983
       Plaintiff                                              §
                                                              §
    v.                                                        §
                                                              §               In Admiralty under FRCP 9(h)
    Hanwin Shipping Limited,                                  §
      Defendant, and                                          §
                                                              §
    American Shipping & Chartering Corp.,                     §
      Garnishee                                               §

OBJECTIONS TO MAGISTRATE’S MEMORANDUM & RECOMMENDATION (DOC.
NO. 59) BY GARNISHEE AMERICAN SHIPPING & CHARTERING CORPORATION

To The Honorable Andrew S. Hanen:

           Garnishee American Shipping & Chartering Corporation (“ASCC”) respectfully files and

serves these Objections to the Memorandum and Recommendation (Doc. 59) (“M&R”) issued by

Magistrate Judge Sam Sheldon on November 2, 2022.

                                       OVERVIEW OF THE OBJECTIONS

           1.      ASCC holds great respect for the Magistrate Judge in this proceeding. However,

ASCC respectfully suggests the analysis and framework of the M&R is both factually and legally

incorrect. Thus, ASCC objects to the finding in the M&R that Hanwin generally has some

property interest in the $979,893.63 currently held by ASCC to allow those funds to be

garnished under Rule B.1 ASCC also objects to the finding in the M&R that Transatlantica

satisfied its burden under Rules B and E to show “probable cause as to some form of

ownership.”2 First, the M&R fails to analyze key facts present in the record. Second, the M&R

does not apply long-held principles of the General Maritime Law of the United States that state


1
    See Doc. No. 1 and the Rule B Order (Doc. No. 13) dated June 24, 2022.
2
    See Doc. No. 59, at page 11.

                                                          1
FIRMDMS\220713\000001\30463716.v3-11/16/22
      Case 4:22-cv-01983 Document 62 Filed on 11/16/22 in TXSD Page 2 of 14




law can fill gaps in maritime law under the Reverse-Erie doctrine, and thus does not apply Texas

law to the issue of whether money in a bank account is the sole property of the account holder.

Third, because of the M&R’s first two deficiencies, it incorrectly applies a legal lens through cases

provided by Transatlantica Commodities Pte Ltd. (“Transatlantica”) and reaches an incorrect

result. The omission of those facts, detailed below, when combined with what ASCC believes to

be the applicable and binding law, conclusively demonstrates to this Honorable Court this fact: the

money in ASCC’s bank account, under the General Maritime Law of the United States and Texas

law, is ASCC’s sole property. Hanwin Shipping, Limited (“Hanwin”) retains no residual interest

in those funds, aside from those funds to which Hanwin is now due a refund. Thus, the M&R

should be modified, and $362,781.99 should be released from the Rule B order to ASCC, with the

remainder of $617,111.64 transferred by ASCC to the Court’s escrow account as Hanwin’s

security. Transatlantica should then be ordered to post counter-security in the latter amount.

       OBJECTIONS TO THE FACTS AND RELEVANT BACKGROUND PORTION OF THE M&R

        2.       At the Rule E Hearing, Lutz Knickrehm, the corporate representative of ASCC

testified ASCC owns the bank account in question, owns the money in the account, and needs to

use that money to satisfy debts ASCC incurred in the course of its work for Hanwin.3 Exhibits 1

through 9 also established ASCC’s exclusive ownership of the bank account in question.4 ASCC

also introduced, through the testimony of Mr. Knickrehm and Exhibits 2-9, that Hanwin

electronically transferred (as opposed to a delivery of cash) the money in question. 5 These are

critical facts overlooked in the M&R. The M&R also fails to address the issue of who incurred



3
  Hearing Transcript, page 47, line 8 to page 48, line 11. It is ASCC’s understanding the Court has a copy of this
transcript. If such is needed, ASCC will provide a copy of the transcript to the Court.
4
  See Doc. No. 35, ASCC’s exhibit list. Notably, Transatlantica made no objections to these exhibits, which are part
of the evidentiary record.
5
  For example, see Mr. Knickrehm’s testimony on page 61, lines 1-3 of the Hearing Transcript, and Exhibits 2-9,
which document the wire transfers.

                                                         2
FIRMDMS\220713\000001\30463716.v3-11/16/22
      Case 4:22-cv-01983 Document 62 Filed on 11/16/22 in TXSD Page 3 of 14




the debts. Mr. Knickrehm testified , and numerous exhibits evidence, all of the invoices from the

vendors to the vessels at issue issued those invoices directly to ASCC, and not to Hanwin.6 There

is no evidence in the record to contradict this testimony.

        3.       ASCC thus formally objects to the omitted facts from the M&R as described above.

As the Court will see, the omission of those facts leads the M&R down a flawed analytical path

that ultimately led to an incorrect result. Both 28 U.S.C. § 636(b)(1) and Federal Rule of Civil

Procedure 72(b) establish the standard of review by a District Court reviewing the M&R of a

Magistrate Judge is de novo. Under this standard, this Honorable Court has the power to correct

the mistakes found in the M&R.

             OBJECTIONS TO THE LEGAL STANDARD & LEGAL ANALYSIS IN THE M&R

Texas Law Should Fill the Gaps

        4.       Jurisdiction under Rule B (and thus under Rule 12(b)(1)) exists only if the Court

can attach the defendant’s personal property. Submersible Sys. Inc. v. Perforadora Cent. S.A. de

C.V., 249 F.3d 413, 421 (5th Cir. 2001) (emphasis added). In other words, “if the res is not the

property of the defendant, then the court lacks jurisdiction.” Shipping Corp. of India v. Jaldhi

Overseas PTE Ltd., 585 F.3d 58, 69 (2d Cir. 2016). However, Rule B does not define the term

“personal property.” Malin Int’l Ship Repair & Drydock, Inc. v. Oceanographia, 817 F.3d 241,

245 (5th Cir. 2016). Specifically, Rule B does not define “tangible or intangible personal property”

and “provides no guidance as to what type of property interest is attachable.” Malin, 817 F.3d at

245 (cleaned up). When federal maritime law is silent, courts generally look to state law to

determine property rights. See California ex rel. State Lands Comm’n v. United States, 457 U.S.

273, 283 (1982) (considering state law where federal admiralty law is “thin.”).


6
 Hearing Transcript, page 48, lines 6-11. See also Exhibits 10-27 and Exhibit 3, as shown on Doc. No. 35.
Transatlantica objected to none of these exhibits.

                                                        3
FIRMDMS\220713\000001\30463716.v3-11/16/22
      Case 4:22-cv-01983 Document 62 Filed on 11/16/22 in TXSD Page 4 of 14




         5.       There simply is no defining rule of decision, whether there is a naturally occurring

gap in the jurisprudence, or whether courts can bend such a gap into existence to use state law.7

In these instances, Gilmore and Black, authors of an ovular treatise on Admiralty law, politely

described the situation as one where “the cases cannot be wholly harmonized.”8 Into this void

enters the 1955 Supreme Court opinion of Wilburn Boat Co. v. Fireman’s Fund Ins. Co. 348 U.S.

310, 313 (1955). The general holding of Wilburn Boat is: if there is not a federal maritime rule

(i.e., the maritime law is silent), state law can be used to fill the gaps provided the state law in

question does not offend a maritime interest. 348 U.S. at 313, see also Norfolk Southern Ry. v.

James N. Kirby, Pty Ltd., 543 U.S. 14, 27 (2004). The Fifth Circuit recently restated in this rule

in Garcia v. United States in 2021. See 986 F.3d 513, 532 (5th Cir. 2021).9

         6.         None of the parties was able to provide the Magistrate Judge with direct, on-point

authority as to whether a shipping company like Hanwin retains a property or ownership interest

in money in a ship agent’s (“ASCC’s”) bank account. In this instance, the Magistrate Judge did

his best to piece together a framework of analysis for this issue. But, in the opinion of ASCC, the

Magistrate Judge got it wrong. Thus, ASCC Objects to the analysis found on pages 4-11 under

the headings “Legal Standard” and “Discussion” in the M&R, for the reasons stated below.

The M&R Incorrectly Construes Malin

         7.       In Malin Int’l Ship Repair & Drydock, Inc. v. Oceanography S.A. DE C.V., the Fifth

Circuit held a vessel operator had an attachable interest in fuel bunkers on its vessel even though

the vessel had not yet paid for said fuel bunkers. 817 F.3d 241, 244 (5th Cir. 2016).10 The Fifth



7
  As to this latter point, see Yamaha Motor Corp. v. Calhoun, 516 U.S. 199 (1996).
8
  Grant Gilmore & Charles L. Black, Jr., THE LAW OF ADMIRALTY, §1-17 (2 ed. 1972).
9
  Notably, the Garcia court stated the general rule of Wilburn Boat but declined to apply it so as to prohibit bystanders
from bringing a products liability claim under Texas law. Fifth Circuit jurisprudence in the GML contradicted Texas
law in this regard. Here, there is no GML or Fifth Circuit position on this issue.
10
   See also Hearing Transcript, page 79, line 16 to page 80, line 2.

                                                           4
FIRMDMS\220713\000001\30463716.v3-11/16/22
         Case 4:22-cv-01983 Document 62 Filed on 11/16/22 in TXSD Page 5 of 14




Circuit ultimately upheld the attachment of fuel bunkers under Rule B, in part because Texas

common law (as the UCC was silent) showed the vessel operator had some interest in the bunkers

through a title transfer prior to taking full possession. See 817 F.3d at 245-46.

           8.       ASCC contends Malin provides the correct legal framework for analyzing this case,

but Malin is factually distinguishable from this case because fuel bunkers (a tangible asset) are

different from the funds in ASCC’s bank account.11 The text of Malin supports ASCC’s position.

           9.       The M&R misrepresents and misapplies the facts and rulings of Malin. The M&R

states the Fifth Circuit upheld the district court in finding that the vessel operator had an attachable

interest in the fuel bunkers “even though the operator did not have legal title to it.”12 This is

incorrect. In Malin, the Fifth Circuit construed Texas contract law and found the vessel operator

and the vessel owner entered into a credit sale of the fuel bunkers whereby title to the fuel bunkers

passed upon delivery to the vessel operator. 817 F.3d at 248-49. The Fifth Circuit held that the

vessel operator “received title to the bunkers . . . the day that it took possession of the [vessel].”

817 F.3d at 249. The Fifth Circuit explicitly stated that the vessel operator “held title to the bunkers

at the time of . . . attachment.” Id.




                                                                             .



11
     Hearing Transcript, page 80, lines 8-17 and page 81, lines 2-4.
12
     See Dkt. No. 59 at 9-10.

                                                             5
FIRMDMS\220713\000001\30463716.v3-11/16/22
         Case 4:22-cv-01983 Document 62 Filed on 11/16/22 in TXSD Page 6 of 14




           10.       Moreover, the M&R incorrectly reads the Malin Court’s application of a cited case,

Alaska Reefer Mgmt., LLC v. Network Shipping, Ltd. from the Southern District of New York in

2014. 68 F. Supp. 3d 383 (S.D.N.Y 2014). The Fifth Circuit cited Alaska Reefer to illustrate the

inconsistency of various federal appeals courts on the application of the ownership element of Rule

B. See 817 F.3d at 245. Moreover, Alaska Reefer does not address the issue of whether a shipping

company retains some property interest in the funds in an agent’s bank account. Instead, Alaska

Reefer dealt with a situation where the plaintiff garnished the defendant’s bank account through

J.P. Morgan Chase in New York City. 68 F. Supp. 3d 383, 385. Under the Malin analysis, of

course the defendant would have title to the money in its own bank account. Thus, the M&R’s

reliance upon Alaska Reefer is simply factually and legally incorrect.

           11.       Ultimately, the Fifth Circuit held in Malin that the fuel bunkers were attachable

because the vessel operator received title to them (under Texas law) upon delivery of the vessel.

817 F.3d at 248-49. Thus, even if the vessel operator did not possess the bunkers, it had some

interest in them. Id. There is no argument Hanwin holds title to the money in ASCC’s bank

account, either in the M&R or in Transatlantica’s briefing. Due to the M&R’s failure to properly

analyze Malin, ASCC objects to the M&R.

The M&R Incorrectly Analyzes Jaldhi and Second Circuit Cases

           12.       The other key case cited by ASCC is Shipping Corp. of India v. Jaldhi, a 2009

Second Circuit decision.         585 F.3d 58 (2nd Cir. 2009). In that case, the Second Circuit, in what

it called a “mini en banc” decision,13 over-ruled a prior Second Circuit opinion – Winter Storm

Shipping, Ltd. v. TPI, 310 F.3d 263 (2d Cir. 2002) – and held Electronic Fund Transfers could not

be attached when they passed through an intermediary bank located in New York City. 585 F.3d



13
     585 F.3d 58, 67, n. 9.

                                                      6
FIRMDMS\220713\000001\30463716.v3-11/16/22
        Case 4:22-cv-01983 Document 62 Filed on 11/16/22 in TXSD Page 7 of 14




58 (2d Cir. 2009). The Second Circuit ultimately determined the GML was silent on the issue of

whether an EFT constituted the personal property of a defendant, and New York law, specifically

the New York State version of the Uniform Commercial Code did not support or constitute a

transfer of property to trigger Rule B (or Admiralty) jurisdiction. 585 F.3d at 69-71.

           13.      The M&R incorrectly states Jaldhi held a defendant maintained an undefined

property interest in EFTs under New York Law.14 In Jaldhi, the Second Circuit actually rejected

this argument, as noted above. Moreover, the Jaldhi court over-ruled and expressly rejected the

prior circuit jurisprudence, found in Winter Storm Shipping, Ltd. v. TPI, 310 F.3d 263 (2d Cir.

2002). The M&R also incorrectly claims two unreported Southern District of New York decisions,

Essar International, Ltd. v. Martrade Gulf Logistics, 2007 WL 2456629 (S.D.N.Y. August 23,

2007) and Hanjin Overseas Bulk Ltd. v. CPM Corp., 2008 WL 542640 (S.D. N.Y. Dec. 22, 2008)

support Hanwin holding a beneficial interest in ASCC’s money. Both of these decisions cannot

serve as a basis for this Honorable Court’s decision here.

           14.      In Essar, the garnished party stipulated the attached funds “represented payment of

a debt owed” by the named defendant, and that the garnished party and defendant structured the

transaction in a way to avoid the attachment order. Essar, 2007 WL 2456629 at *1. Transatlantica

elicited no such stipulation or testimony from ASCC or Mr. Knickrehm. There is no indication of

any such factual similarity in the record of this case.

           15.      Irrespective of the factual difference in Essar, use of either Essar or Hanjin in the

M&R is made more egregious, as both decisions are founded in the 2002 Winter Storm opinion

from the Second Circuit. See Hanjin at *7-8 (citing to Winter Storm and Essar). However, as we

know, Jaldhi over-ruled and expressly rejected the Winter Storm analysis. Thus, these cases, in



14
     Doc. No. 59, page 11.

                                                      7
FIRMDMS\220713\000001\30463716.v3-11/16/22
     Case 4:22-cv-01983 Document 62 Filed on 11/16/22 in TXSD Page 8 of 14




addition to being non-binding precedent, are not even binding precedent within the Southern

District of New York. They should not form the basis of any decision of this Honorable Court.

And, because the M&R improperly reads and relies upon these decisions to reach its conclusion,

ASCC objects to the M&R on these grounds.

The Correct Legal Framework

        16.     The correct legal framework is to recognize there is no direct rule in the GML and

look to state law to establish whether Hanwin can retain some property interest in the money in

ASCC’s bank account. The basis for this frame work comes from the Fifth and Second Circuits.

The Malin court looked to the equivalent of Article 2 of the UCC in Texas, which is Chapter 2 of

the Texas Business and Commerce Code. 817 F.3d 241, 247-48 (5th Cir. 2016).15 The Jahldi

decision from the Second Circuit looked to the New York version of the UCC. 585 F.3d 58, 70-

71 (2d Cir. 2009).16 Thus, ASCC respectfully suggests this Honorable Court should look to Texas

law on ownership of the money in bank accounts under the Texas version of the UCC to determine

whether Hanwin could ever hold a property interest in the money in ASCC’s account.

        17.     ASCC’s oral argument and subsequent briefing provided the Court with several

Texas statutes defining “property.” ASCC cited several provisions of the Texas Business &

Commerce Code (including Sections 4A.210 &4A.211), various provisions of the Texas Tax Code

and Texas Penal Code, as well as Section 28.028 of Texas Estates Code in its prior briefing. When

read through the Malin lens, the Court should hopefully recognize Texas law does not support

anyone other than a bank account holder having any type of ownership interest in the funds in a

bank account.


15
   Ultimately, Malin determined Texas common law governed a bareboat charter, and found under Texas common
law, combined with the charter language, gave the vessel operator some interest in the fuel bunkers at issue.
16
   As New York law did not allow for attachment of EFTs, the Second Circuit held a Rule B attachment was
inappropriate.

                                                      8
FIRMDMS\220713\000001\30463716.v3-11/16/22
     Case 4:22-cv-01983 Document 62 Filed on 11/16/22 in TXSD Page 9 of 14




        18.     Notably, under the Texas Business & Commerce Code, when a sender executes a

wire transfer, the recipient becomes the owner and controller of the money, not the sender. See

TEX. BUS. & COM. CODE §4A.210 and 4A.211. The Texas Tax Code defines property as:

        any matter or thing capable of private ownership,” personal
        property as everything other than real property that is subject to
        ownership, and intangible personal property as claim, interest
        (other than an interest in tangible property), right, or other thing
        that has value but cannot be seen, felt, weighed, measured, or
        otherwise perceived by the senses, although its existence may be
        evidenced by a document.

TEX. PROP. TAX CODE §§ 1.04(1), (4), and (6). Section 22.028 of the Texas Estates Code defines

property as an “interest in: . . . money.” TEX. ESTATES CODE § 22.028. Under Texas law, bank

accounts qualify as personal property that can be passed down and inherited. See In Re Estate of

Hunt v. Vargas, 597 S.W.3d 912 (Tex. App.—Houston [1st Dist.] 2020, no pet.).

        19.     The Texas statutes cited by ASCC support ASCC’s position that the money in its

bank accounts belong to ASCC. Under Sections 4A.210 and 4A.211 of the Texas Business &

Commerce Code, when a sender executes a wire transfer, the recipient or its bank has the authority

to accept or reject the wire. The sender may only amend or cancel the wire by request to the bank

before acceptance or, if after acceptance, must secure the bank’s agreement to the amendment or

cancellation. Thus, under the plain language of these statutes, when Hanwin submitted its payment

orders by wire to ASCC, it relinquished ownership and control of the wired money and is unable

to retrieve the funds without the permission of ASCC or its bank. Transatlantica does not provide

the Court with any Texas legal authority to show a continued interest in bank account funds in the

maritime context for the principal to an agent.

        20.     Transatlantica bore the burden of proof on each element of Rule B in the Rule E

Hearing. See Parcel Tankers, Inc. v. Formosa Plastics Corp., 764 F.2d 1153, 1155 (5th Cir. 1985);



                                                  9
FIRMDMS\220713\000001\30463716.v3-11/16/22
        Case 4:22-cv-01983 Document 62 Filed on 11/16/22 in TXSD Page 10 of 14




see also Salazar v. Atlantic Sun, 881 F.2d 73, 79 (3d Cir. 1989); Amstar Corp. v. S/S Alexandros

T., 664 F.2d 904, 912 (4th Cir. 1981). The standard utilized by other Judges in this District, and

that should be used here, is one of reasonable grounds, meaning is it more likely than not a plaintiff

meets the elements of Rule B. See Seatrade Group, N.V. v. 6,785.5 Metric Tons of Cement, 2006

AMC 193, 2005 U.S. Dist. LEXIS 43060 (S.D. Tex. 2005)(Rosenthal, J.)(citing to Amstar at 912).

           21.      Even under this standard, Transatlantica failed to meet its burden. When the Court

combines these statutes to fill the gaps of maritime law with the undisputed evidence established

in the Evidentiary Hearing, reasonable grounds do not exist that Transatlantica satisfies the third

element of Rule B – that the property subject to the Rule B Order is that of Hanwin. Specifically,

ASCC introduced the formation papers for ASCC’s bank account into evidence, without

objection.17 Knickrehm testified ASCC solely controls the account and the account is ASCC’s

property.18 There is no actual evidence, other than argument of counsel, to contravene these facts.

There simply is no legal basis where Transatlantica or the M&R can demonstrate any form of

ownership over the funds in ASCC’s account.

           22.      However, in the interest of full disclosure, ASCC advised the Court in post-hearing

briefing that ASCC learned only $362,781.99 of the $979,893.63 is now outstanding to the vendors

for Hanwin’s vessels. Thus, per Mr. Knickrehm’s testimony, ASCC would refund the remaining

balance, $617,111.64 to Hanwin. ASCC concedes Hanwin would have less than a full, but still

some, property interest, in that $617,111.64.

           23.      ASCC thus believes a modification of the M&R is in order. First, this Honorable

Court should hold, as a general rule (and applying the analytical framework of Malin and Jaldhi),

that money held in a Texas bank account is the sole property of the owner of that bank account.


17
     See Exhibit 1, as shown in Doc. No. 35.
18
     Hearing Transcript, page 20:23-23:7; 32:22-33:1.

                                                        10
FIRMDMS\220713\000001\30463716.v3-11/16/22
     Case 4:22-cv-01983 Document 62 Filed on 11/16/22 in TXSD Page 11 of 14




This means, at first glance, all of the $979,893.63 currently subject to the Rule B Order should be

released back to ASCC’s control, as it is ASCC’s sole property. However, the Court would be

within the facts and the law to also hold Hanwin retains a less than full property interest in

$617,111.64 of the monies held by ASCC currently under the Rule B Order, as ASCC

acknowledges Hanwin is due that amount as a refund.

                          OBJECTIONS TO THE EQUITABLE VACATUR FINDING

         24.      ASCC also objects to the M&R’s finding of no grounds for equitable vacatur.

The Court misstates ASCC’s position for equitable vacatur—first, by improperly stating that

ASCC argues that all three conditions for equitable vacatur are met,19 and second, by ignoring the

evidence cited by ASCC in support of equitable vacatur.20

         25.      ASCC did not argue that Hanwin is subject to suit in a convenient, adjacent

jurisdiction, as the facts clearly do not support such a position. Instead, ASCC argues that equitable

vacatur is appropriate because (1) a court could obtain in personam jurisdiction over Hanwin in a

district where Transatlantica is located and (2) Transatlantica already obtained sufficient security

for its judgment.21

         26.      First, a court could obtain in personam jurisdiction over Hanwin in another district.

Hanwin and Transatlantica are currently involved in attachment litigation in the Eastern District

of Louisiana, the District of New Jersey, the District of Maryland, and Panama. 22 Additionally,

Hanwin subjected itself to the jurisdiction of the District of Massachusetts by suing Transatlantica.

ASCC’s motion does not merely assert these facts without evidentiary support; instead ASCC

expressly incorporates Hanwin’s arguments in its Joinder and Motion to Release Writs of Maritime


19
   See Dkt. No. 59 at 16.
20
   See Dkt. No. 59 at 17-18.
21
   See Dkt. No. 23 at 2-3.
22
   See Dkt. No. 23 at 3.

                                                   11
FIRMDMS\220713\000001\30463716.v3-11/16/22
     Case 4:22-cv-01983 Document 62 Filed on 11/16/22 in TXSD Page 12 of 14




Attachment and Garnishment, or in the Alternative, Set Security and Counter-Security.

(“Hanwin’s Joinder”)23 Moreover, Hanwin’s Joinder provides a detailed list of each of the lawsuits

between Transatlantica and Hanwin,24 where a court could otherwise obtain in personam

jurisdiction over Hanwin. Thus, equitable vacatur is appropriate because Hanwin is available in

another district where Transatlantica is located.

         27.      Second, equitable vacatur is appropriate because Transatlantica has already

obtained sufficient security for its judgment, as detailed in Hanwin’s Joinder25 and incorporated in

ASCC’s request for equitable vacatur.26 Specifically, Transatlantica has attached funds and

received security totaling $3,323,622.31. Although granting ASCC motion for equitable vacatur

would result in a decrease in the funds by $979,893.63 (the amount of the attached funds in

ASCC’s account), Transatlantica would still be sufficiently secured because it has already received

over $1,000,000.00 more than the amount it asserted as a claim in the actions pending in New

Jersey and Maryland.27

         28.      The simple fact is this Court can rectify what the M&R recognizes is a wholly

unequitable situation as to ASCC. There are invoices for which ASCC is directly liable that ASCC

cannot pay because of the Rule B Order. Hanwin made a general appearance in Massachusetts,

and Transatlantica is involved in that litigation. This Honorable Court can give ASCC back its

property, and take the money due to be refunded to Hanwin as security, on the grounds of equity,

for any of the reasons stated above. While ASCC believes its analysis of the actual Rule B property

issue is correct, this Honorable Court is not limited to just that avenue to find an equitable result.




23
   See Dkt. No. 23 at 3 (citing Hanwin’s Joinder, Dkt. No. 21.)
24
   See Dkt. No. 21 at 3-5.
25
   See Dkt. No. 21 at 5-6.
26
   See Dkt. 23 at 3.
27
   See Dkt. 21 at 5.

                                                         12
FIRMDMS\220713\000001\30463716.v3-11/16/22
    Case 4:22-cv-01983 Document 62 Filed on 11/16/22 in TXSD Page 13 of 14




                                CONCLUSION & REQUESTED RELIEF

        29.     ASCC respectfully requests this Honorable Court make two rulings to correct the

factual and legal errors in the M&R. First, this Honorable Court should hold, consistent with Texas

law, that money in a corporate entity’s bank account is the property of that entity alone. Second,

ASCC currently holds $979,893.63 in a separate bank account under the Garnishment Order

(“Doc. No. 4, 13). Under this general rule, all of that money is solely ASCC’s property. But,

given ASCC’s admission of a refund due to Hanwin in the amount of $617,111.65, the M&R

should be modified to release $362,781.99 of the garnished funds to ASCC as its sole property,

with the remaining balance of $617,111.64 to be transferred to the Court’s Escrow Account.

        30.     Alternatively, ASCC requests this Honorable Court reach the same result as

described in paragraph 29, but on equitable vacatur grounds. Finally, if the prior arguments fall

flat, ASCC requests this Honorable Court set a firm deadline whereby Transatlantica must post

counter-security. If Transatlantica does not post adequate counter-security by this date, the money

in ASCC’s account should be released, even under the M&R’s thoughtful but flawed analysis.

                                       PRAYER & CONCLUSION

        WHEREFORE, PREMISES CONSIDERED, ASCC respectfully requests this Honorable

Court over-rule the Memorandum and Recommendation of Magistrate Judge Sam Sheldon (Doc.

No. 59) as described herein, release $362,781.99 of the Garnished Funds back to ASCC as ASCC’s

sole property, and order ASCC to transfer $617,111.64 of the Garnished Funds to the Court’s

Escrow Account.




                                                13
FIRMDMS\220713\000001\30463716.v3-11/16/22
    Case 4:22-cv-01983 Document 62 Filed on 11/16/22 in TXSD Page 14 of 14




                                                     Respectfully submitted,

                                                     CHAMBERLAIN, HRDLICKA, WHITE,
                                                     WILLIAMS & AUGHTRY, P.C.

                                                     By: /s/ F. Daniel Knight
                                                        F. Daniel Knight
                                                        State Bar No. 24041265
                                                        SDTX Bar No.: 37334
                                                        1200 Smith Street, Suite 1400
                                                        Houston, Texas 77002
                                                        (713) 658-2571
                                                        (713) 658-2553 (Fax)
                                                        daniel.knight@chamberlainlaw.com

                                                     ATTORNEYS FOR ASCC


                                  CERTIFICATE OF SERVICE
        The undersigned attorney verifies his Firm served a true and correct copy of this document
via Efile Service and/or Email upon counsel of record for both Transatlantica and Hanwin under
the Federal Rules of Civil Procedure on the 16th day of November, 2022.


                                              /s/ F. Daniel Knight
                                             F. DANIEL KNIGHT




                                                14
FIRMDMS\220713\000001\30463716.v3-11/16/22
